{_`JA 20 APl-’UINTMEI\`T (]F AND AU”|'I[()RI"|'Y 'l`() PAY (`()lIR'l` ,\I’P()[N'I'EI) (`OUNSEL

 

1~ CIR-“’IS'l`-"’W- f@HS€ 2902“@¢>2*®@9§!'¥\3@?\/| DOCUment 75 Filed 07/21/®@‘<`»@&§@4!1%)1° 2 Page|D 71
TNW Crowde,r1 Mary

 

 

 

 

3. MAG. DKT.!DEF. NUMBER 4. msT. nK'l‘./DEF. NUMBF,R 5. ,\erl~;,u.S I)K'r.fnt<:l~`. NU.\mRR 6. ()TIH~:R DKT. NLMBF.R
2:02-020391-001
7. rN CAS|~:.'MATIER uF rem realm 8. PAYMENT CATEGORY 9. 'l'vPE l'l-:RSON RI~;PRESF.NTED lo. tgs P{<E`SEN“TA no.\' TYPI-;
E€ ll§ mc 0“5]
U.S. v. Crowder Felony Adu|t Det`endant MOtinn to Cnrrect or Redute

 

 

 

11. OFFENSE(S) (`.HARGEI) lClte U.S. (.Yndc, '[itle & Sec\inn] ll'mnre then one ntl'en=e, list (np to five] major offenses eharged, according to severity o|` olTense.

l) 18 472.F -- PASSES COUN'I`ERFEIT OBLIGATIONS OR SECURITIES

 

 

  
 
  

12. ATTORNF Y S N.-\ME (I~irst Name. M. l. I,ast Nanle. including anv sul`l`:x] 13. (iOUR'l` URDER
.»\Nl) MAILING ADDRESS m () Appointing Counsel l:l C Co-Cuunsc|
Gimgu]i, .luni |:i F sims Fuchderar mrender \:] n sum rnrnminm mmmey
40 S Ma]'n St L__i I" Suhs For PanelAltorltey' r.:] Y SlandbyConnsel ,__
. 1 1
811le 1340 Prinl‘ Attnrney's Name: N;/,\) l 7
` \, '.. /‘
Memphls TN 38103 Appoirlllnent Date: _________ //’ _/£?-/

\___\ Because the shuve- named person represented has testified under oath or 'l$/t'.;i§<>/ i//
otherwise sltisiied this court that he or she tl)' is linnneiully unable to employ conl'_t§el and _

Tg|gplm,m Nu",h“: (901 ] 544-9339 (Z}tloes not wish to waive eounsel. and because the interests ot`juctice so require, r'j'ie‘

 

  

attorney whose name appears in lteln 12' ls appointed to represent this person in Uiis case
14. NAME AND MAIL[NG ADDRF.SS OF I.AW FlRNl tonl_yl provide per instructions)

§ o;§§;eyM\ L §§

gnature f Presiding Judieial ()tt'mer or Hy Order of the (`.ourl

 

 

(YH l R/?O(i§
Dt\ of Order Nnne Pru '[`une Date
ilepa ent or partial repayment ordered i`roln the person represented l'or this service al
time otappoinunenl. Cl YFS i:| .\`O

 

   

y CLAM-Fb_n=sltnv:€msimo EXPENSES'€

 

ron tomsz USE' oNt.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CATF.GGMF.S winch itemization or services with daley (`H§IH‘*§§D Ai\¢(t)or@]§'r §iii:iiis';ii:;ii { hiiiiiigili£li{ t“§§{','§l§ol"""
' 1 CLA[MED HOURS AM()UNT

15. a. Arraignment and)'or Plea

b. Bail and Detention l{earings

c. Motion I{earings
fl d. Trial
(‘ e. Sentericing Hea.rings
3 f. Revocalion Hearings
:' g. Appeais Court

h. Other (Specify on additional sheets)

(Rate per hour = $ j n TUTALS:

16. a. interviews and Conferenees
iti) b. Obtaining and reviewing records
0 c. Lega.l research and brief writing
z d. Travel time
3 e. Investigative and ()ther work (speciry on additional steam
{ (Rale per hour 1 $ ) TOTALS:
17. Travc] Expenses (lodgiug, parking meals, mileage, elc.]
lS. Oll'ter Exp€nses tother than expert, transcripts, ete.l

 

 

 

  

 

 

 

 

cum mrw;(cutm ndan ‘Ami)§'l‘_El`>`)

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

]9. CFRTIF|CA'I'I()N OF A'I'I`ORNEY/PAYEE FOR "l`H]‘ PE RlO]) OF SERVIC}L 2l1 APPO]N'I’.HENT TERMINATION DATE Zl. CASE l)lSPOS['l`lON
lF OTHER THAN CASE COMPLET[ON
FROM m ___ _____
22. CLAIM STATUS i:l Final Puynlent ij Im.eriln Paylnent Nun\ber l:] Snpp|en\ental l’ayment
liave you previously applied to the court l'or compensation and/ur relnimhursen\ent l`or this case'.’ m YES [;l NO ll'yes, were you paid'.’ l:l YES [i N(_)
Other than from Lhe court4 have you, or to your knowledge has anyone els¢, received payment toompensation nr anything or valuel tron\ any other source in connection with this
representation? m YES l:l NO lf_ves. give details nn additional sheets.
l swear or affirm the truth or correctness of the above Slalem€rlls.
Signature quttorney: l)ate:
.~'APPROVED FOR PAYI_V[ENT§` »'CDU'RT USE CNLY
23. ]`N COURT COMP. 24 OU TOF COURT COMP. 25. TRAVILL EXPENSI“.S 26. Cll'HF.R EXPENSES 21 TOTAL AMT. APPR.' CHR'[`
28. SlGNATURE OF THE l’REStDING ,]UDlCLAl, OFFICER l)ATE zxa. JUI)GE ,'MA(;.Junc;i-; c:ooF,
29. IN C()URTCOMP. 30. ()l`-T UF (FDIJRT (`.(]Mi’. 31. 'I'RAVEL EXPENS]§S 32. ()THER EXI’ENSF,S 3_\. TOTAL AM']`. Ai’l’R()VF,D
34. 55th 'A I'I_IRE ()F CHIEF .Illl)GE, (_`.OURT ()F APPI' ALS ({)R DF Ll‘ GATE) }’ayment l).~\'l'l". 343. .lUDGE (_`.Ol)E
approved' in excess ofthesl.ltutory threshold sunan

 

 

 

 

 

3 oocument entered fm the d .
# oaketshee .‘ '
tm Cr;mprtam-q

…11 Huia 55 amf/orSQ(b) FRCrP on " 520-5

 

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
case 2:02-CR-20391 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Financial Unit
FINANCIAL UNIT
167 N. Main St.

Ste. 242

1\/lemphis7 TN 38103

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

